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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

 JONATHAN DRUMMOND,
                                               Case No. 6:25-CV-12-JSS-RMN
       Plaintiff,
 vs.

 ANYTIME FITNESS FRANCHISOR LLC,

      Defendant.
 _________________________________/

              STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff JONATHAN

 DRUMMOND (“Plaintiff”) and Defendant ANYTIME FITNESS FRANCHISOR,

 LLC, stipulate and jointly request that this Court enter a dismissal with prejudice of

 Plaintiff’s Complaint in the above-entitled action, in its entirety. Unless otherwise

 stated in the parties’ settlement agreement, each Party shall bear his or its own costs

 and fees, including attorneys’ fees, incurred with this action.

       Dated: March 31, 2025.

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